            Case 3:25-cv-01780-WHA              Document 74            Filed 03/07/25   Page 1 of 2




 1   PATRICK D. ROBBINS (CABN 152288)
     Acting United States Attorney
 2   PAMELA T. JOHANN (CABN 145558)
     Chief, Civil Division
 3   KELSEY J. HELLAND (CABN 298888)
     Assistant United States Attorney
 4   U.S. ATTORNEY’S OFFICE
     450 Golden Gate Avenue, Box 36055
 5   San Francisco, California 94102-3495
     (415) 436-7200
 6   kelsey.helland@usdoj.gov
 7
     ERIC HAMILTON
 8   Deputy Assistant Attorney General
     DIANE KELLEHER
 9   Branch Director
     CHRISTOPHER HALL
10   Assistant Branch Director
     JAMES D. TODD, JR.
11   Senior Trial Counsel
     YURI S. FUCHS
12   Trial Attorney
     U.S. DEPARTMENT OF JUSTICE
13   Civil Division, Federal Programs Branch
     P.O. Box 883
14   Washington, DC 20044
     james.todd@usdoj.gov
15   yuri.s.fuchs@usdoj.gov
16   Counsel for Defendants
17
                                  UNITED STATES DISTRICT COURT
18                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
19
20                                                          Case No. 3:25-cv-1780-WHA
     AMERICAN FEDERATION OF
21   GOVERNMENT EMPLOYEES, et al.
                                                            DEFENDANTS’ UNOPPOSED
22            Plaintiffs,                                   ADMINISTRATIVE MOTION TO
23                                                          REMOVE INCORRECTLY FILED
                      v.
                                                            DOCUMENTS (DKT. NOS. 35, 36)
24   UNITED STATES OFFICE OF PERSONEL
     MANAGEMENT, et al.,                                    The Hon. William H. Alsup
25
26             Defendants.

27
28


     Defendants’ Admin. Motion to Remove Incorrectly Filed Documents
     3:25-cv-1780-WHA
            Case 3:25-cv-01780-WHA              Document 74            Filed 03/07/25   Page 2 of 2




 1           Pursuant to Local Rule 7-11, and for good cause shown herein, Defendants respectfully
 2   request that the Court remove from the public docket the documents filed as Dkt. Nos. 35 and 36,
 3   because they contain the personal identifying information of a third party that should remain
 4   confidential.
 5           Dkt. Nos. 35 and 36 are exhibits submitted in support of Defendants’ Opposition to
 6   Plaintiffs’ Motion for a Temporary Restraining Order and to Show Cause. They are,
 7   respectively, the Special Counsel’s Initial Request for Stay or Personnel Action (Dkt. No. 35)
 8   and the MSPB’s Non-Precedential Stay Order (Dkt. No. 36) in Special Counsel ex rel. Doe v.
 9   OPM, No. CB-1208-25-17-U-1 (MSPB). Defendants filed these documents without knowing
10   that they contained non-public PII of a third party. Defendants have since filed corrected
11   versions of these documents that have the PII redacted.
12           Defendants have met and conferred with Plaintiffs regarding the relief requested herein,
13   and Plaintiffs do not oppose it. Pursuant to Civil Local Rule 7-11(a), a Stipulation and
14   [Proposed] Order is attached hereto.
15
16   Dated: March 7, 2025                             Respectfully submitted,
17                                                    PATRICK D. ROBBINS
                                                      Acting United States Attorney
18
                                                      /s/ Kelsey J. Helland
19                                                    KELSEY J. HELLAND
                                                      Assistant United States Attorney
20
                                                      ERIC HAMILTON
21                                                    Deputy Assistant Attorney General
                                                      DIANE KELLEHER
22                                                    Branch Director
                                                      CHRISTOPHER HALL
23                                                    Assistant Branch Director
                                                      JAMES D. TODD, JR.
24                                                    Senior Trial Counsel
                                                      YURI S. FUCHS
25                                                    Trial Attorney
26                                                    Counsel for Defendants
27
28


     Defendants’ Admin. Motion to Remove Incorrectly Filed Documents
     3:25-cv-1780-WHA
                                                           1
